AO 440 (Rev. 12/09) Summons in a Civil Action


                                          UNITED STATES DISTRICT COURT
                                                                            for the
                                                             Eastern District
                                                           __________ Districtofof
                                                                                 New  York
                                                                                   __________

  Government Employees Insurance Company, et al.
                                                                              )
                                                                              )
                                Plaintiff
                                                                              )
                                    v.                                        )       Civil Action No.
    SUSAN J. POLINO PH.D. (A Sole Proprietorship), SUSAN J. POLINO, DAVID
   CATACORA, MARIE COLETTE LEON, SAMERRA WELSH, ORLEIDA MATOS,                )
      SHERYL LOUIS AND JOHN DOE DEFENDANTS “1” THROUGH “10”,
                                                                              )
                               Defendant
                                                                              )


                                                           SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) See Attached Rider "A".




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Barry I. Levy, Esq.
                                             Rivkin Radler LLP
                                             926 RXR Plaza
                                             Uniondale, New York 11566
                                             516-357-3000
                                             RR File No. 005100.03594


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                         CLERK OF COURT


Date:
                                                                                                   Signature of Clerk or Deputy Clerk
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 Civil Action No.

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                   on (date)                         ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                               , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                     , who is
           designated by law to accept service of process on behalf of (name of organization)
                                                                                   on (date)                         ; or

           ’ I returned the summons unexecuted because                                                                             ; or

           ’ Other (specify):
                                                                                                                                          .


           My fees are $                           for travel and $                 for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                         Server’s signature



                                                                                       Printed name and title




                                                                                          Server’s address

 Additional information regarding attempted service, etc:
                     RIDER “A” TO SUMMONS IN
     GOVERNMENT EMPLOYEES INSURANCE COMPANY, et al. v. SUSAN POLINO
                    PH. D. (A Sole Proprietorship), et al.

Full Caption:

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
--------------------------------------------------------------------------X
GOVERNMENT EMPLOYEES INSURANCE
COMPANY, GEICO INDEMNITY COMPANY, GEICO
GENERAL INSURANCE COMPANY and GEICO                                           Docket No.:_______ ( )
CASUALTY COMPANY,

                                    Plaintiffs,

                  -against-

SUSAN J. POLINO PH.D. (A Sole Proprietorship), SUSAN J.
POLINO, DAVID CATACORA, MARIE COLETTE LEON,
SAMERRA WELSH, ORLEIDA MATOS, SHERYL LOUIS
AND JOHN DOE DEFENDANTS “1” THROUGH “10”,

                                     Defendants.
--------------------------------------------------------------------------X

Named Defendants:

SUSAN J. POLINO, PH.D. (A Sole Proprietorship)
c/o NEW YORK SECRETARY OF STATE
99 WASHINGTON AVENUE
ALBANY, NEW YORK 12231-0001

SUSAN J. POLINO
28 TEMPLE PLACE
EAST AURORA, NY 14052-2524

DAVID CATACORA
4418 28TH AVE, APT 1F
ASTORIA, NY 11103-2158

MARIE COLETTE LEON
200-16 120TH AVE, FL 1
SAINT ALBANS, NY 11412-3804
SAMERRA WELSCH
1849 WHITE PLAINS ROAD
BRONX, NY 10462-1407

ORLEIDA MATOS
2420 CRESTON AVE, APT 5E
BRONX, NEW YORK 10468-6761

SHERYL LOUIS
1512 PARK PLACE, APARTMENT C5
BROOKLYN, NY 11213-3120




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